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1                                                                          FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
2
                                                                  Jun 08, 2021
3                                                                     SEAN F. MCAVOY, CLERK




4

5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                    NO: 2:16-CR-69-RMP-1
8                              Plaintiff,

9           v.                                      ORDER DENYING DEFENDANT’S
                                                    MOTION TO RECONSIDER
10    CHRISTOPHER ALLEN CAIN,

11                             Defendant.

12

13         BEFORE THE COURT is Defendant/Petitioner Christopher Allen Cain’s

14   Motion to Reconsider the Court’s Amended Order Denying Defendant’s Motion

15   Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence. ECF No. 216.

16   The Court has reviewed the motion, the record, and is fully informed.

17                                LEGAL STANDARDS

18         A motion for reconsideration or relief from a judgment is appropriately

19   brought under either Federal Rule of Civil Procedure 59(e) or Rule 60(b). Taylor

20   v. Knapp, 871 F.2d 803, 805 (9th Cir. 1989).

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1          A motion brought pursuant to Rule 59(e) “must be filed no later than 28

2    days after the entry of the judgment” and may be granted if the district court “is

3    presented with newly discovered evidence, committed clear error, or if there is an

4    intervening change in the controlling law.” Wood v. Ryan, 759 F.3d 1117, 1121

5    (9th Cir. 2014) (internal quotation marks and citations omitted).

6          Federal Rule of Civil Procedure 60(b) permits litigants to request

7    reconsideration of a final judgment, order, or proceeding entered against them.

8    Rule 60(b) lists five circumstances that may justify reopening a final judgment—

9    including, for example, newly discovered evidence, fraud by the opposing party, or

10   a mistake committed by the court—and a sixth, catch-all category. The sixth

11   ground for relief allows a court to reconsider a final judgment for “any other

12   reason that justifies relief.” Fed. R. Civ. P. 60(b)(6).

13         However, “Rule 60(b) does not apply to the extent it is inconsistent with the

14   habeas rules’ limitations on second or successive applications.” Mitchell v. United

15   States, 958 F.3d 775, 784 (9th Cir. 2020) (citing Gonzalez v. Crosby, 545 U.S. 524,

16   529–30 (2005)); see also Rules 9 & 12, Rules Governing Section 2255

17   Proceedings. In general, prisoners are limited to one petition under § 2255 and

18   may not bring a second or successive petition unless it meets the criteria set forth

19   in 28 U.S.C. § 2255(h). United States v. Washington, 653 F.3d 1057, 1059 (9th

20   Cir. 2011).

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1          Section 2255(h) provides that such a petition cannot be considered unless it

2    has first been certified by the court of appeals to contain either “(1) newly

3    discovered evidence that, if proven and viewed in light of the evidence as a whole,

4    would be sufficient to establish by clear and convincing evidence that no

5    reasonable factfinder would have found the movant guilty of the offense; or (2) a

6    new rule of constitutional law, made retroactive to cases on collateral review by

7    the Supreme Court, that was previously unavailable.” 28 U.S.C. § 2255(h).

8          Accordingly, when faced with a motion for reconsideration, district courts

9    are tasked with ascertaining whether the motion is a “true” Rule 60(b) motion, or

10   whether it is a disguised second or successive § 2255 petition subject to the

11   requirements of 28 U.S.C. § 2255(h). Washington, 653 F.3d at 1059–60.

12         A court in the Ninth Circuit must treat the petitioner’s Rule 60(b) motion as

13   another § 2255 motion if it contains a “claim.” United States v. Buenrostro, 638

14   F.3d 720, 722 (9th Cir. 2011). A motion brings a “claim” “if it attacks the federal

15   court’s previous resolution of a claim on the merits.” Gonzalez, 545 U.S. at 532.

16   “A motion that does not challenge ‘the integrity of the proceedings, but in effect

17   asks for a second chance to have the merits determined favorably,’ is raising a

18   ‘claim’ that takes it outside the purview of Rule 60(b).” Washington, 653 F.3d at

19   1063 (quoting Gonzalez, 545 U.S. at 532 n. 5).

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1                                       DISCUSSION

2          The Court finds that Defendant’s Motion to Reconsider should be denied

3    because (1) it is untimely under Rule 59(e); and (2) it is an unauthorized successive

4    § 2255 motion under Rule 60(b).

5          First, for purposes of Rule 59(e) consideration, the Motion to Reconsider is

6    untimely. On April 5, 2021, the Court denied Defendant’s motion seeking relief

7    under 28 U.S.C. § 2255. ECF No. 215 (Amended Order). On May 26, 2021,

8    Defendant moved for reconsideration, well beyond 28 days of the Amended Order.

9    Fed. R. Civ. P. 59(e). Thus, the Motion to Reconsider is untimely under Rule

10   59(e). See United States v. Martin, 226 F.3d 1042, 1047 n.7 (9th Cir. 2000) (“[I]t

11   makes sense to conclude that a motion for reconsideration of an order finally

12   resolving a § 2255 petition must meet the time limits set in Rule 59(e).”).

13         Even if the Motion to Reconsider was timely under Rule 59(e), the Court

14   finds that Defendant has failed to establish a sufficient basis for the Court to

15   reconsider its prior ruling denying the § 2255 motion absent newly discovered

16   evidence, clear error, or an intervening change in the controlling law. Wood, 759

17   F.3d at 1121.

18         Second, for purposes of Rule 60(b) consideration, the Court finds that it

19   lacks jurisdiction because the arguments in Defendant’s Motion to Reconsider

20   “attack[ ] the federal court’s previous resolution of a claim on the merits,” thereby

21   turning it into a second or successive habeas motion. Mitchell, 958 F.3d at 784–85


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1    (quoting Gonzalez, 545 U.S. at 531). Defendant reiterates the arguments he made

2    in his motion under § 2255 with respect to ineffective assistance of counsel and the

3    denial of counsel predating defense counsel’s Notice of Appearance on his behalf.

4    See ECF Nos. 213, 216. Thus, as Defendant’s arguments amount to a second or

5    successive habeas motion, and there is no certificate of appealability for such

6    motion, the Court must deny Defendant’s Motion to Reconsider. See, e.g., Wild v.

7    United States, No. 15CR2771-AJB, 2020 WL 6561523, at *2 (S.D. Cal. Nov. 9,

8    2020).

9          Accordingly, IT IS HEREBY ORDERED: Defendant’s Motion to

10   Reconsider the Court’s Amended Order Denying Defendant’s Motion Under 28

11   U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence, ECF No. 216, is

12   DENIED.

13         IT IS SO ORDERED. The District Court Clerk is directed to enter this

14   Order and provide copies to Defendant.

15         DATED June 8, 2021.

16

17                                                s/ Rosanna Malouf Peterson
                                                ROSANNA MALOUF PETERSON
18                                                United States District Judge

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